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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     AL OTRO LADO, INC. et al.,                           Case No.: 17CV2366-BAS(KSC)
12                                        Plaintiffs,
                                                            ORDER RE: JOINT MOTION FOR
13     v.                                                   DETERMINATION OF DISCOVERY
                                                            DISPUTE [DOC. NO. 286]
14     KEVIN K. MCALEENAN, Secretary,
       U.S. DHS, in his official capacity, et al.,
15
                                       Defendants.
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18           Currently pending before the Court is a Joint Motion for Determination of Discovery
19    Dispute, which raises the discrete issue as to how many ports of entry (“POE”) should be
20    the subject of discovery at the pre-class certification stage. [Doc. No. 286.] In response to
21    document requests calling for documents to be produced for all POEs on the U.S.-Mexico
22    border, defendants have selectively produced discovery limited to the San Ysidro, Otay
23    Mesa, Hidalgo and Laredo POEs and U.S. Customs and Border Protection’s (“CBP’s”)
24    Office of Field Operations (“OFO”). Plaintiffs contend that because they allege a border-
25    wide putative class, discovery is appropriate and necessary for additional POEs. They have
26    since limited their request for discovery regarding other POEs to four custodians - one each
27    for the El Paso, Brownsville, Nogales and Calexico POEs.
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 1          Legal Standard re: Scope of Discovery
 2          “Unless otherwise limited by court order, the scope of discovery is as follows:
 3    Parties may obtain discovery regarding any non-privileged matter that is relevant to any
 4    party’s claim or defense and proportional to the needs of the case, considering the
 5    importance of the issues at stake in the action, the amount in controversy, the parties’
 6    relative access to relevant information, the parties’ resources, the importance of the
 7    discovery in resolving the issues and whether the burden or expense of the proposed
 8    discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).
 9          If a party fails to answer written interrogatories or produce documents in response
10    to written requests, the party seeking discovery may move for an order compelling
11    disclosure. Fed. R. Civ. P. 37(a)(3)&(4). “While the party seeking to compel discovery has
12    the burden of establishing that its request satisfies relevancy requirements, the party
13    opposing discovery bears the burden of showing that discovery should not be allowed, and
14    of clarifying, explaining, and supporting its objections with competent evidence.” Lofton
15    v. Verizon Wireless (VAW) LLC, 308 F.R.D. 276, 281 (N.D. Cal. 2015).
16          Discussion
17          As plaintiffs explain, the documents they seek from the four additional POEs are
18    relevant to class certification and, more generally, to this case in order to ascertain whether
19    defendants implemented a common policy with respect to asylum seekers attempting to
20    present themselves for inspection at POEs along the U.S.-Mexico border. Expanding the
21    scope of discovery beyond the four POEs to include the additional four POEs that are the
22    subject of this Motion will allow the parties to better ascertain whether a common policy
23    with respect to asylum seekers exists, as plaintiffs contend. Conversely, this discovery may
24    also show defendants’ metering policy was not uniformly implemented across all POEs, or
25    that port directors at some POEs effectively adopted different policies with respect to
26    asylum seekers. In either case, the discovery sought is clearly relevant. See e.g. Wal-Mart
27    Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (“What matters to class certification . . .
28    [is] the capacity of a classwide proceeding to generate common answers apt to drive

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 1    resolution of the litigation. Dissimilarities within the proposed class . . . have the potential
 2    to impede the generation of common answers.”)
 3          Defendants argue that producing documents for the four additional custodians/POEs
 4    is overly burdensome and not proportional to the needs of the case, given that they have
 5    already collected a large volume of documents from the 24 custodial and non-custodial
 6    sources agreed upon by the parties. [Doc. No. 286, p. 15.] Defendants contend, without
 7    offering specifics or corroboration, documents obtained from the additional four custodians
 8    are likely to be duplicative of documents they have agreed to voluntarily produce. [Id., p.
 9    16.] Additionally, defendants explain the process of collecting emails is labor-intensive
10    and time-consuming and is complicated by the fact that the server housing CBP’s
11    eDiscovery tool is low on space. [Id., p. 18, Ex. 2, Dismuke Decl. ¶¶ 4-5.] The declarations
12    offered in support of defendants’ argument describe the effort that would be required for
13    defendants to produce documents for all POEs along the U.S.-Mexico. [Id., Ex. 2, Dismuke
14    Decl. ¶¶ 11-14; Ex. 3 Howe Decl. ¶ 10.] Plaintiffs’ Motion, however, is limited to only
15    four POEs. Defendants have not offered any facts regarding the burden of producing
16    documents for just these four custodians. Nor has it shown the burden of producing
17    documents from the four additional custodians is undue. Furthermore, with respect to
18    defendants’ comments about having inadequate server space to conduct discovery, the
19    Court finds this explanation entirely unsatisfactory and reminds defendants they have
20    already been ordered to “devote adequate time and resources to ensure discovery is
21    accomplished in a timely manner….” [Doc. No. 269.]
22          Based on the foregoing, plaintiff’s Motion is GRANTED. Counsel are to promptly
23    meet and confer regarding the timeframe for defendants’ production of documents from
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 1    the custodians for the El Paso, Brownsville, Nogales and Calexico POEs and to jointly
 2    submit a proposed schedule for the Court’s approval no later than October 30, 2019.
 3          IT IS SO ORDERED.
 4    Dated: October 9, 2019
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